             Case 1:23-cr-10001-ADB Document 70 Filed 04/16/24 Page 1 of 3




                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS

    UNITED STATES OF AMERICA,                      *
                                                   *
                                                   *
                  v.                               *
                                                   *
                                                   *     Criminal Action No. 1:23-cr-10001-ADB
    PATRICK BAXTER,                                *
                                                   *
                  Defendant.                       *
                                                   *
                                                   *

                                       PRETRIAL ORDER

BURROUGHS, D.J.

        It is hereby ORDERED that: 1

        1.       Trial shall commence on July 1, 2024 at 9:00 AM in Courtroom 17.

        2.       Jury Selection will occur on June 24, 2024 at 9:00 AM in Courtroom 17.

        3.       The government shall by May 16, 2024, disclose to the defendant:

                 a)     The exculpatory information identified in Local Rule 116.2 that has not

been previously produced; and

                 b)     A general description (including the approximate date, time, and place) of

any crime, wrong, or act the government proposes to offer pursuant to Fed. R. Evid. 404(b).

        4.       Statements (as defined in 18 U.S.C. § 3500(e) and Fed. R. Crim. P. 26.2(f)) of

witnesses each party intends to call in its or his case-in-chief shall be produced by May 16, 2024,

unless the parties state otherwise.




1
 The Court issued a Pretrial Order on April 1, 2024. [ECF No. 62]. That order is hereby
vacated.
            Case 1:23-cr-10001-ADB Document 70 Filed 04/16/24 Page 2 of 3




       5.       The parties shall by May 23, 2024, file proposed voir dire questions, proposed

jury instructions, any Motions in Limine with supporting memoranda, and a trial brief. Replies

to any motion in limine shall be filed by June 6, 2024.

       6.       The government shall by May 16, 2024:

                a)     Provide the defendant with the names and addresses of witnesses the

government intends to call at trial in its case-in-chief. If the government subsequently forms an

intent to call any other witness, the government shall promptly notify the defendant of the name

and address of that prospective witness.

                b)     Provide the defendant with copies of the exhibits and a premarked list of

exhibits the government intends to offer in its case-in-chief. If the government subsequently

decides to offer any additional exhibit in its case-in-chief, the government shall promptly provide

the defendant with a copy of the exhibit and a supplemental exhibit list.

       7.       The defendant shall by May 16, 2024:

                a)     Provide the government with the names and addresses of the witnesses the

defendant intends to call in his case-in-chief. If the defendant subsequently forms an intent to

call any other witness in his case-in-chief, he shall promptly notify the government of the name

and address of that witness.

                b)     Provide the government with copies of the exhibits and a premarked list of

the exhibits the defendant intends to offer in his case-in-chief. If the defendant subsequently

decides to offer any additional exhibits in his case-in-chief, he shall promptly provide the

government with a copy of the exhibit and a supplemental exhibit list.

       8.       The parties shall by May 23, 2024 file a written stipulation of any facts that they

agree are not in dispute.




                                                  2
            Case 1:23-cr-10001-ADB Document 70 Filed 04/16/24 Page 3 of 3




       9.        The final pretrial conference and hearing on motions in limine, etc. shall be

held on June 13, 2024 at 9:15 AM in Courtroom 17.




NOTE: IF THE COURT RESCHEDULES THE TRIAL, ALL SUBMISSION DATES IN

THIS ORDER REMAIN IN EFFECT UNLESS COUNSEL FILE A MOTION SEEKING

LEAVE OF COURT TO MODIFY THEM TO SPECIFICALLY DESIGNATED DATES.



       SO ORDERED.

April 16, 2024                                              /s/ Allison D. Burroughs
                                                            ALLISON D. BURROUGHS
                                                            U.S. DISTRICT JUDGE




                                                3
